                                                                     Key:     Nordean       Biggs       Rehl          Donohoe        Government   Pandemic      Interests of Justice
                                                                    Date    Nordean      Biggs        Rehl         Donohoe Motions   Government   Chief Judge   Court interests
                                                                            Motions or   Motions or   Motions or   or Appeals        Motions      Pandemic      of Justice
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